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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

October 2019 Grand Jury

UNITED STATES OF AMERICA, CR No.’ | 9GR 0 0 ( 6 J -mwt
Plaintiff, INDICTMENT
Vv. : [18 U.S.C. § 2320(a): Conspiracy
to Traffic in Counterfeit Goods
ZOULIN CAI, and Labels; 18 U.S.C. § 1349:
aka “Zou Lin Cai,” Conspiracy to Commit Wire Fraud
aka “Lin Cai,” and Mail Fraud; 18 U.S.C.
‘aka “Allen Cai,” § 1956(h): Conspiracy to Engage in
Money Laundering; 18 U.S.C.
Defendant. S§ 981(a) (1) (C), 982(a) (1) and
(2), 2323(b)and 28 U.S.C.
§ 2461(c): Criminal Forfeiture]

 

 

 

 

The Grand Jury charges:

INTRODUCTORY ALLEGATIONS

At times relevant to this Indictment:

Ax Defendant and Unindicted Co-Conspirators

Ls Defendant ZOULIN CAI, also known as (“aka”) “Zou Lin Cai,”
aka “Lin Cai,” aka “Allen Cai” (“CAI”), was a Chinese citizen who
resided in Los Angeles County, California, starting on or about
August 21, 2012. Prior to arriving in the United States, defendant
CAI incorporated “Electronic Mall Inc.” as a California corporation

on December 9, 2011. At that point and after his arrival in the

 
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United States, defendant CAI was employed by Shenzhen Theseus
Technology Co., Ltd., which was also known as “Theseus Technology
Co., Ltd” and “Everlasting Energy Co., Ltd.” (“Theseus Technology”),
a Chinese company.

2. Unindicted co-coconspirator (“UICC”) #1 was a Chinese
citizen and relative of defendant CAI, who resided in China. UICC #1
was a senior executive of Theseus Technology.

3. UICC #2 was a Chinese citizen and relative of defendant
CAI, who resided in China.

4, UICC #3 and UICC #4 were Chinese citizens, who were
believed to be relatives of defendant CAI. UICC #3 and UICC #4 were
employed by Theseus Technology, and resided in China.

5. UICC #5 was a Chinese citizen and relative of defendant
CAI, who resided in China.

6. UICC #6 was a Chinese citizen who resided in China. UICC
#6 was employed by Theseus Technology.

7. UICC #7 was a Chinese citizen who resided in the United
States starting in 2011.

B. Theseus Technology

 

8. Theseus Technology manufactured counterfeit batteries,

including batteries for laptop computers, which UICC #1 and defendant

CAI, and their co-conspirators, would then export from China to the
United States. They then sold and shipped the counterfeit batteries
to individual purchasers, using the business names “3C Supply Inc.,”
“Cycle Technology Inc.,” “E-Family USA Inc.,” “Electronic Mall Inc.,”
“E-Mall International Inc.,” “Everlast Group Inc.,” “Green Tech
International Group Inc.,” “Lelly Q Inc.,” “Nana Inc.,” and “Wiimart
Inc.” UICC #1 and defendant CAI, and their co-conspirators, falsely

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and fraudulently advertised the counterfeit batteries for sale via
various storefronts, such as eBay and Amazon, under these and other
business names, and then shipped the counterfeit batteries to
individual retail purchasers.

9, From at least March 23, 2014 through late-2016, defendant
CAI imported, sold, and shipped batteries from a warehouse at 14839
Proctor Ave., Unit B, in La Puente, California, which was
alternatively referred to as 14839 Proctor Ave., Unit B, City of
Industry, California. From late-2016 through December 17, 2019,
defendant CAI imported, sold, and shipped batteries from a warehouse
at 13725 Proctor Ave., Unit B, in La Puente, California, which was
alternatively referred to as 13725 Proctor Ave., Unit B, City of
Industry, California. Each location is referred to herein as

“defendant CAI’s warehouse.”

Cc. Bank Accounts
10. Defendant CAT maintained and used business bank accounts at
J.P. Morgan Chase N.A. (“Chase”), held in San Marino, California,

within the Central District of California, in the following names:

a. an account ending in 3772, doing business as (“dba”)

“3C Supply Inc.”;

b. an account ending in 6821, dba “Cycle Technology
Inc.”;

Cc. an account ending in 1828, dba “Electronic Mall Inc.”;

d. an account ending in 0978, dba “Everlast Group Inc.”;

e. an account ending in 5822, dba “Green Tech

International Group Inc.”;

f. an account ending in 7213, dba “Lelly Q”; and

 
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g. an account ending in 1198, dba “Nana Inc.” These
accounts are collectively referred to herein as “defendant CAI’s
Chase Business Accounts.”

11. Defendant CAI and UICC #5 maintained and used a business
bank account at Chase ending in 9983, in the name of UICC #5, dba
\Wiimart Inc.,” held in San Marino, California, within the Central
District of California.

12. UICC #1 and UICC #3 maintained and used a business bank
account at Bank of America, N.A. (“BOA”) ending in 7065, in the names
of UICC #1 and UICC #3, dba “E-Family USA Inc.,” held in San Gabriel,
California, within the Central District of California.

D. Infringed Trademarks

 

13. A “trademark” is a word, phrase, symbol, or design, or a
combination thereof, which identifies and distinguishes the source of
the goods of one particular manufacturer from those of other
manufacturers. A trademark is often a valuable asset, equated with
the “goodwill” of a business organization, which can influence
consumers in purchasing decisions. A “word mark,” “standard
character mark,” “design mark,” and “mark drawing” are types of
trademarks. Trademarks are registered for use in connection with
particular types of goods or services.

14. A trademark serves a variety of purposes. First, it avoids
product confusion by allowing consumers to have confidence that two
products for sale bearing the identical trademark were manufactured
by the same company and will be of the same quality. Second, it
permits consumers to make an informed choice to purchase a name-brand
good based upon past experience, word-of-mouth, brand loyalty, and
advertising impact. Third, it enables consumers who experience a

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problem with the name-brand product they have purchased to seek
recourse through the actual manufacturer by returning the goods to
the seller or seeking warranty or other recourse through the
manufacturer. Fourth, it allows the trademark owner to distinguish
and protect its products by giving that company exclusive rights as
the trademark owner. This permits the legitimate trademark owner to
recoup investments of time, money, labor, and. creativity and to
profit from its endeavors in bringing a particular product to market.

15. A “certification mark” is a word, phrase, symbol, or
design, or a combination thereof, used to certify regional origin or
other origin, material, mode of manufacture, quality, accuracy, or
other characteristics of goods or services, or that the work or labor
on the goods or services was performed by members of a union or other
organization. A certification mark, therefore, serves a similar
purpose as a trademark: a certification mark indicates that
authorized persons manufacture the products in accordance with the
mark-holder’s processes, thereby assuring consumers of the quality of
the product.

16. A counterfeit mark is: (a) a spurious mark that is used in.
connection with trafficking in goods; (b) that is identical with, or
substantially indistinguishable from, a mark registered for those
goods or services on the principal register in the U.S. Patent and
Trademark Office, and in use, whether or not the defendant knows such
mark was so registered; (c) that is applied to or used in connection
with the goods or services for which the mark was registered; and

(d) the use of which is likely to cause confusion, to cause mistake,

or to deceive.

 
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17. Apple Inc. (“Apple”), Dell Inc. (“Dell”), Hewlett-Packard
Company (“HP”), and Toshiba Corporation (“Toshiba”) were all
companies that manufactured and sold batteries for laptop computers.
The U.S. Patent and Trademark Office had registered, on its principal
register, trademarks for each company for use in connection with
batteries, battery chargers, and/or computer hardware, including the
following trademarks described and depicted below, all of which were
in use at times relevant to this Indictment :

a. Trademark number 2,715,578, registered by Apple for

the Apple logo design mark;

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b. Trademark number 3,928,818, registered by Apple for

the Apple standard character mark;

APPLE

c. Trademark number 3,222,089, registered by Apple for

the MacBook standard character mark;

MACBOOK

d. Trademark number 74,250,269, registered by Dell for

the Dell logo design mark;

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e. Trademark number 88,404,851, registered by HP for the

HP logo design mark; and

 

£. Trademark number 1,405,380, registered by Toshiba for

the Toshiba logo design mark.
TOSHIBA
18. UL LLC (“UL”) was a global safety consulting and

certification company, which conducts safety analyses of electrical
equipment. The U.S. Patent and Trademark Office had registered, on
its principal register, certification marks for UL for use in
connection with electrical equipment, usually of a voltage not
exceeding 600 V, including the following certification marks
described and depicted below, all of which were in use at times

relevant to this Indictment:

a. Certification mark number 2,391,140 registered by UL

for the “UL in a Circle” logo design mark; and

b. Certification mark number 1,123,070, registered by UL

for the “Reverse UR” logo design mark.

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19. The counterfeit batteries for laptop computers that UICC #1
and defendant CAI manufactured, imported, sold, and shipped were
batteries bearing one or more counterfeit marks, to wit, marks
identical’ with or substantially indistinguishable from one or more of
the above-described trademarks/certification marks registered by
Apple, Dell, HP, Toshiba, and UL. The counterfeit marks were each
likely to cause confusion, to cause mistake, and to deceive.

20. Apple, Dell, HP, Toshiba, and UL did not ship labels for
laptop batteries bearing their trademarks/certification marks
separately from laptop batteries to which the labels would be
applied. In other words, labels bearing Apple, Dell, HP, Toshiba,
and UL marks that were imported or sold separately from laptop
batteries were counterfeit.

21. Neither defendant CAI nor his co-conspirators, nor their
businesses, were authorized to manufacture, import, sell, or

distribute Apple, Dell, HP, or Toshiba batteries for laptop

 

computers.
E. Dangers of Counterfeit Lithium-Ion Laptop Batteries
22. Counterfeit lithium-ion batteries pose significant safety

risks. While even non-counterfeit lithium-ion batteries are highly
flammable and capable of ignition, counterfeit lithium-ion laptop
batteries -- including those manufactured, imported, sold, and
shipped by UICC #1 and defendant CAI, and their co-conspirators --
frequently lacked required internal safeguards. The counterfeit
lithium-ion laptop batteries manufactured, imported, sold, and
shipped by UICC #1 and defendant CAI, and their co-conspirators,
therefore created a significant risk of fire and explosion, and

danger to human life and safety.

 
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F. Fraud Victims

23. Victims M.O., N.H., F.R., D.A., and C.F. each were
defrauded through purchases of one or more batteries from eBay
storefronts, which counterfeit batteries were supplied by defendant
CAI, and his co-conspirators. Victims M.O., F.R., D.A., and C.F.
lived in the United States, outside the state of California. Victim

N.H. lived in the State of California, outside the Central District

of California.

 
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COUNT ONE
[18 U.S.C. § 2320 (a) ]

24. The Grand Jury re-alleges and incorporates paragraphs 1
through 23 of the Introductory Allegations of this Indictment.
A. OBJECTS OF THE CONSPIRACY

25, Beginning on December 31, 2011 and continuing through
December 17, 2019, in Los Angeles County, within the Central District
of California, and elsewhere, defendant CAI, together with UICC #1
through UICC #7, and others known and unknown to the Grand Jury,
knowingly conspired to commit the following offenses:

a. intentionally trafficking in counterfeit goods, in
violation of Title 18, United States Code, Section 2320(a) (1); and

b. intentionally trafficking in counterfeit labels,
stickers, documentation, and packaging, in violation of Title 18,
United States Code, Section 2320(a) (2).

B. MEANS BY WHICH THE OBJECTS OF THE CONSPTRACY WERE TO BE
ACCOMPLISHED
26. The objects of the conspiracy were to be accomplished, in
substance, as follows:

a. Defendant CAI, and UICC #1 through UICC #7, would
establish U.S. corporations and bank accounts, as well as accounts at
online marketplaces, such as eBay and Amazon, to facilitate the
importation and sale of counterfeit lithium-ion batteries for laptop
computers, and other electronic accessories for laptop computers and
cellular telephones, in the United States.

b. UICC #1 and other co-conspirators in China (the
“Chinese supplier co-conspirators”) would arrange to manufacture and
export counterfeit lithium-ion batteries for laptop computers, and

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other electronic accessories for laptop computers and cellular
telephones, to defendant CAI in the United States.

Cc. UICC #1 and the Chinese supplier co-conspirators would
package the counterfeit laptop batteries and ship them to the United
States, sometimes covering the trademarks with black tape or a
similar material, so that a quick inspection of the items would not
reveal the trademark.

d. Defendant CAI and employees acting at his direction
would, at times, receive shipments of laptop batteries separate from
the labels’ bearing counterfeit marks that were intended for those
batteries, so that inspection of the shipments of batteries would not
indicate that the batteries were to be fraudulently sold as
counterfeit merchandise. Once the laptop batteries and/or labels.
arrived at defendant CAI’s warehouse, he and employees acting at his
direction would add labels bearing counterfeit marks to the laptop
batteries, prior to shipping them to purchasers.

e. The counterfeit laptop batteries were advertised and
sold via online storefronts, including on eBay and Amazon, where the
counterfeit laptop batteries were falsely and fraudulently advertised
as brand-name, new, genuine and/or “OEM” (original equipment
manufacturer) batteries for laptop computers of various trademarked
brands, without indication that the goods were counterfeit and not
authorized by the companies whose names and trademarks were used in
advertisements and that appeared on the goods and packaging.

f. At other times, defendant CAI and employees acting at
his direction, including UICC #7, would sell the laptop batteries and
labels bearing counterfeit marks, as well as other counterfeit
electronics, to individuals onsite at defendant CAI’s warehouse.

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g. Defendant CAI and employees acting at his direction
would, through U.S. mail and other means, ship counterfeit laptop
batteries to victim-purchasers, throughout the United States,
including outside the State of California, who had been fraudulently
induced by false advertisements to purchase counterfeit laptop

batteries.

h. Defendant CAI and employees acting at his direction
would typically remove any black tape or similar material covering

trademarks prior to shipping the batteries.

i. At times, when a victim-purchaser would discover the
counterfeit nature of the laptop batteries and would request a
refund, the co-conspirators would accept returns of counterfeit

batteries at defendant CAI’s warehouse.

i. Defendant CAI and UICC #1, and their co-conspirators,

would receive or transfer payments for the counterfeit laptop

‘batteries sold on eBay and Amazon into defendant CAI’s Chase Business

Accounts, and other U.S. bank accounts.

k, Defendant CAI and UICC #1, and their co-conspirators,
would periodically transfer payments from defendant CAI’s Chase
Business Accounts (a) to bank accounts in China controlled by UICC #1
and other co-conspirators; (b) to other of defendant CAI’s Chase
Business Accounts; and (c) to other bank accounts in the United
States used or controlled by defendant CAI and UICC #1, and their co-
conspirators, usually in round-dollar quantities, so as to obtain the
money and so as to promote the carrying on of the conspiracy.

1. Defendant CAI would further transfer the proceeds to
bank accounts in the United States that he used or controlled, and
would spend the proceeds of sales of counterfeit laptop batteries on

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personal expenses, including for rent, mortgage payments for a
property he purchased, and monthly payments for a Maserati sports car
he leased.

m. From on or about March 5, 2014 through on or about
June 20, 2019, defendant CAI and UICC #1, and their co-conspirators,
fraudulently obtained approximately $23,831,668.78 from the sale of
counterfeit laptop batteries through eBay and Amazon, and laundered
those proceeds. During that time, defendant CAI and UICC #1, and
their co-conspirators, at a minimum laundered approximately '
$18,094,960.00 through wire transfers from U.S. bank accounts that
they owned and controlled directly to Chinese bank accounts in the

name of Theseus Technology and other Chinese businesses of the

conspiracy. )
on OVERT ACTS
27. (In furtherance of the conspiracy, and to accomplish its

objects, defendant CAI, together with UICC #1 through UICC #7, and
others known and unknown to the Grand Jury, on or about the dates set
forth below, committed and caused to be committed various overt acts,
in the Central District of California and elsewhere, including, but
not limited to, the following:

Overt Act No. 1: On or about January 4, 2013, a bank account
ending in 7065 was opened at BOA, in San Gabriel, California, in the
names of UICC #1 and UICC #4, dba “E-Family USA Inc.”

Overt Act No. 2: On or about September 13, 2013, a bank
account ending in 9983 was opened at Chase, in San Marino,
California, in the name of UICC #6, dba “Wiimart Inc.”

Overt Act No. 3: On multiple occasions between on or about
March 24, 2014 and on or about September 18, 2014, UICC #1 and

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Chinese supplier co-conspirators shipped to defendant CAI’s warehouse
and his residence counterfeit labels intended for counterfeit laptop

batteries, which bore counterfeit marks of Apple, Dell, HP, Toshiba,

and UL.

Overt Act No. 4: On or about March 25, 2014, defendant CAI or
an employee acting at his direction shipped, via U.S. mail, a
counterfeit laptop battery sold to a customer on eBay bearing a
counterfeit HP mark, which was falsely and fraudulently advertised as
an “HP Long Life Notebook Battery (HP MUO9) Original Genuine OEM.”

Overt Act No. 5: On or about May 2, 2014, defendant CAI and
UICC #7 sold ten laptop batteries bearing counterfeit Apple marks to
an investigator hired by Apple, acting in an undercover capacity, and
UICC #7 admitted that some of the batteries were copies rather than
being genuine Apple batteries.

Overt Act No. 6: On or about June 20, 2014, defendant CAI
told a special agent of the Department of Homeland Security, Homeland
Security Investigations, acting in an undercover capacity (“UC
agent”), that he and UICC #7 sold “copy and original” batteries on
May 2, 2014, to the undercover Apple investigator.

Overt Act No. 7: On or about October 16, 2015, defendant CAT
shipped, via U.S. mail, a counterfeit laptop battery sold to a
customer on Amazon bearing a counterfeit HP mark, which was falsely
and fraudulently advertised as a “MO06 New Original Battery HP DV4-
5000 DV6-7000 DV7-7000 DV7t-7000 671731-001.”

Overt Act No. 8: On or about December 21, 2015, defendant CAT
shipped, via U.S. mail, a counterfeit laptop battery sold to a

customer on eBay bearing a counterfeit HP mark, which was falsely and

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fraudulently advertised as a “New Genuine Battery for HP Elitebook
8440WProBook.”

Overt Act No. 9: On or about March 14, 2016, defendant CAI or
an employee acting at his direction shipped, via U.S. mail, a
counterfeit laptop battery sold to a customer on eBay bearing a
counterfeit Apple mark, which was falsely and fraudulently advertised
as a “New 45WH Original Battery for Apple MacBook 13.3’ 13 Inch A1278

A1280 MB771LL/A.”

Overt Act No. 10: On or about June 21, 2016, the business name

 

“Lelly Q Inc.” was registered with the California Secretary of State,
listing defendant UICC #1 and defendant CAI as officers of the
company, and the address of defendant CAI’s warehouse as both of

their addresses.

Overt Act No. il: On dates in 2015 through 2017, defendant CAI

 

shipped counterfeit batteries sold to victim N.H. through eBay, which
batteries were falsely and fraudulently advertised to conceal the

fact that they were counterfeit.

Overt Act No. 12: On or about May 26, 2017, defendant CAI or

 

an employee acting at his direction shipped, via U.S. mail, a
counterfeit laptop battery sold to a customer on eBay bearing a
counterfeit HP mark, which was falsely and fraudulently advertised as

a “NEW OEM ORIGINAL GENUINE HP” laptop battery.

Overt Act No. 13: On or about August 25, 2017, defendant CAI

 

or an employee acting at his direction shipped, via U.S. mail, a
counterfeit laptop battery sold to a customer on Amazon bearing a

counterfeit HP mark, which was falsely and fraudulently advertised as

an “HP Original.”

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Overt Act No. 14: On or about January 15, 2018, defendant CAT

 

or an employee acting at his direction shipped to victim M.O. a
counterfeit Toshiba laptop battery sold to M.O. through eBay, which
when used in M.O.’s laptop caused the laptop to start smoking and
almost catch fire, damaging the charging port.

Overt Act No. 15: On or about February 2, 2018, defendant CAT

 

offered to UC agents to sell batteries for HP laptops that did not
have labels, on which defendant CAI stated he or his employees could

add labels bearing HP trademarks.

Overt Act No. 16: On or about February 2, 2018, defendant CAI

 

sold UC agents 47 counterfeit laptop batteries with labels bearing
counterfeit marks for Apple, Dell, HP, and Toshiba. The Apple
batteries had on them a thin layer of clear plastic film, on which
small pieces of dark tape covered counterfeit Apple marks.

Overt Act No. 17: On or after February 5, 2018, defendant CAI

 

or an employee acting at his direction shipped a counterfeit laptop
battery that victim F.R. had purchased through eBay, which was
falsely and fraudulently advertised as a “New Genuine HP MU06
Original Laptop battery 6-cell 593553-001 593554-001 OEM.”

Overt Act No. 18: On or after March 24, 2018, defendant CAI or

 

an employee acting at his direction shipped a counterfeit laptop
battery sold to victim D.A. through eBay, which was falsely and
fraudulently advertised as a “New OEM Original Battery for Toshiba
Tecra All M11 S11 PA3788U-1BRS PA3787U-1BRS.”

Overt Act No. 19: On or after April 20, 2018, defendant CAI or

 

an employee acting at his direction shipped a counterfeit laptop

battery sold to victim C.F. through eBay, which was falsely and

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fraudulently advertised as a “New Original Battery for Lenovo G460

V360 G560 2465 LO9S6Y02 LO9CoY02 48WH.”

Overt Act No. 20: On or about May 16, 2018, defendant CAI sold

 

to a UC agent 49 counterfeit laptop batteries with labels bearing
counterfeit marks of Dell, HP, and Toshiba.

Overt Act No. 21: On or about May 16, 2018, defendant CAI

 

provided to a UC agent additional, separate labels for counterfeit
batteries, which labels bore counterfeit marks of HP.

Overt Act No. 22: On or about February 28, 2019, defendant CAI

 

sold to a UC agent 108 counterfeit laptop batteries for Apple, Dell,
HP, and Toshiba computers, and separate labels bearing counterfeit

marks of Apple, Dell, HP, and Toshiba.

Overt Act No. 23: On or about February 28, 2019, defendant CAT

 

told a UC agent that the Apple marks on the batteries defendant CAI
had sold to the UC agent were covered with small stickers, and that
the UC agent should remove the thin layers of clear plastic film that

were then on the batteries.

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COUNT TWO
[18 U.S.C. § 1349]

28. The Grand Jury re-alleges and incorporates paragraphs 1
through 23 of the Introductory Allegations of this Indictment.
A. OBJECTS OF THE CONSPIRACY

29. Beginning on December 9, 2011 and continuing through
December 17, 2019, in Los Angeles County, within the Central District
of California, and elsewhere, defendant CAI, together with UICC #1
through UICC #7, and others known and unknown to the Grand Jury,
knowingly conspired to commit the following offenses:

a. wire fraud, in violation of Title 18, United States

Code, Section 1343; and

b. mail fraud, in violation of Title 18, United States

Code, Section 1341.

 

B. MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE
ACCOMPLISHED |
30. The objects of the conspiracy were to be accomplished, in

substance, as follows:

a. The Grand Jury re-alleges and incorporates paragraphs
26.a through 26.m of Section B of Count One of this Indictment.
Cc. OVERT ACTS

31. In furtherance of the conspiracy, and to accomplish its

objects, defendant CAI, together with UICC #1 through UICC #7, and
others known and unknown to the Grand Jury, on or about the dates set
forth below, committed and caused to be committed various overt acts,
in the Central District of California and elsewhere, including, but

not limited to, the following:

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Overt Act Nos. 1-23: The Grand Jury re-alleges and incorporates

 

Overt Act Number 1 through Overt Act Number 23 of Section C of Count

One of this Indictment.

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COUNT THREE
[18 U.S.C. § 1956(h) ]

32. The Grand Jury re-alleges and incorporates paragraphs 1
through 23 of the Introductory Allegations of this Indictment.
A. OBJECTS OF THE CONSPTRACY

33. Beginning on December 9, 2011, and continuing through
December 17, 2019, in Los Angeles County, within the Central District
of California, and elsewhere, defendant CAI, together with UICC #1
through UICC #7, and others known and unknown to the Grand Jury,
knowingly conspired to commit the following offenses:

a. to transport, transmit, and transfer, and attempt to
transport, transmit, and transfer, funds from a place in the United
States to a place outside of the United States, with the intent to
promote the carrying on of specified unlawful activity -- namely,
trafficking in counterfeit goods, in violation of Title 18, United
States Code, Section 2320 (a) (1); wire fraud, in violation of Title
18, United States Code, Section 1343; and mail fraud, in violation of
Title 18, United States Code, Section 1341 -- in violation of Title
18, United States Code, Section 1956(a) (2) (A); and

b. to engage and attempt to engage in monetary
transactions involving criminally derived property of a value greater
than $10,000, affecting interstate and foreign commerce, which was
derived from specified unlawful activity -- namely, trafficking in
counterfeit goods, in violation of Title 18, United States Code,
Section 2320(a) (1); wire fraud, in violation of Title 18, United
States Code, Section 1343; and mail fraud, in violation of Title 18,

United States Code, Section 1341 -- and knowing that the funds

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represented the proceeds of some form of unlawful activity, in

violation of Title 18, United States Code, Section 1957.

 

B. MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE
ACCOMPLISHED
34. The objects of the conspiracy were to be accomplished, in

substance, as follows:

a. The Grand Jury re-alleges and incorporates paragraphs
26.a through 26.m of Section B of Count One of this Indictment.
Cc. OVERT ACTS

35. In furtherance of the conspiracy, and to accomplish its

objects, defendant CAI, together with UICC #1 through UICC #7, and
others known and unknown to the Grand Jury, on or about the dates set
forth below, committed and caused to be committed various overt acts,
in the Central District of California and elsewhere, including, but
not limited to, the following:

Overt Act Nos. 1-23: The Grand Jury re-alleges and incorporates

 

Overt Act Number 1 through Overt Act Number 23 of Section C of Count

One of this Indictment.

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FORFEITURE ALLEGATION ONE
[18 U.S.C. § 2323(b) and 28 U.S.C. § 2461 (c)]

1. Pursuant to Rule 32.2 of the Federal Rules of Criminal
Procedure, notice is hereby given that the United States of America
will seek forfeiture as part of any sentence, pursuant to Title 18,
United States Code, Section 2323(b) and Title 28, United States Code,
Section 2461(c), in the event of the defendant’s conviction of the
offenses set forth in Count One of this Indictment.

Z. The defendant, if so convicted, shall forfeit to the United
States of America the following:

(a) All right, title, and interest in any article made or
trafficked in violation of 18 U.S.C. § 2320;

(ob) All right, title, and interest in any property used,
or intended to be used, in any manner or part to commit or facilitate
the commission of an offense referred to in subparagraph (a);

(c) All right, title, and interest in any property
constituting or derived from any proceeds obtained directly or
indirectly as a result of the commission of an offense referred to in
subparagraph (a), including, without limitation: the real property
located in Rancho Cucamonga, California 91739, Assessor’s Parcel
Number 0229-481-34-0-000, titled in the name of Zoulin Cai, a single
man;, and

(d) To the extent such property is not available for
forfeiture, a sum of money equal to the total value of the property
described in subparagraphs (a), (b), and (c).

3. Pursuant to Title 21, United States Code, Section 853(p),
as incorporated by Title 18, United States Code, Section 2323 (b) (2)
and Title 28, United States Code, Section 2461(c), the defendant, if

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so convicted, shall forfeit substitute property, up to the value of
the property described in the preceding paragraph if, as the result
of any act or omission of the defendant, the property described in
the preceding paragraph or any portion thereof (a) cannot be located
upon the exercise of due diligence; (b) has been transferred, sold
to, or deposited with a third party; (c) has been placed beyond the
jurisdiction of the court; (d) has been substantially diminished in
value; or (e) has been commingled with other property that cannot be

divided without difficulty.

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FORFEITURE ALLEGATION TWO

[18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461 (c)]

1. Pursuant to Rule 32.2 of the Federal Rules of Criminal
Procedure, notice is hereby given that the United States of America
will seek forfeiture as part of any sentence, pursuant to Title 18,
United States Code, Section 981(a)(1)(C) and Title 28, United States
Code, Section 2461(c), in the event of the defendant’s conviction of
the offenses set forth in Count Two of this Indictment.

2. The defendant, if so convicted, shall forfeit to the United
States of America the following:

(a) All right, title, and interest in any and all
property, real or personal, constituting, or derived from, any
proceeds traceable to the offenses including, without limitation:
the real property located in Rancho Cucamonga, California 91739,
Assessor’s Parcel Number 0229-481-34-0-000, titled in the name of
zZoulin Cai, a Single man; and

(b) To the extent such property is not available for
forfeiture, a sum of money equal to the total value of the property
described in subparagraph (a).

3. Pursuant to Title 21, United States Code, Section 853(p),
as incorporated by Title 28, United States Code, Section 2461(c), the
defendant, if so convicted, shall forfeit substitute property, up to
the value of the property described in the preceding paragraph if, as
the result of any act or omission of the defendant, the property
described in the preceding paragraph or any portion thereof (a)
cannot be located upon the exercise of due diligence; (b) has been
transferred, sold to, or deposited with a third party; (c) has been
placed beyond the jurisdiction of the court; (d) has been

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substantially diminished in value; or (e) has been commingled with

other property that cannot be divided without difficulty.

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FORFEITURE ALLEGATION THREE
[18 U.S.C. § 982 and 28 U.S.C. § 2461(c)]

1. Pursuant to Rule 32.2(a) of the Federal Rules of Criminal
Procedure, notice is hereby given that the United States will seek
forfeiture as part of any sentence, pursuant to Title 18, United
States Code, Section 982(a)(1) and Title 28, United States Code,
Section 2461 (c), in the event of the defendant’s conviction of the
offenses set forth in Count Three of this Indictment.

2. The defendant, if so convicted, shall forfeit to the United
States of America the following:

(a) Any property, real or personal, involved in such
offense, and any property traceable to such property including,
without limitation: the real property located in Rancho Cucamonga,
California 91739, Assessor's Parcel Number 0229-481-34-0-000, titled
in the name of Zoulin Cai, a single man; and

(ob) To the extent such property is not available for
forfeiture, a sum of money equal to the total value of the property
described in subparagraph (a).

3. Pursuant to Title 21, United States Code, Section 853(p), as
incorporated by Title 18, United States Code, Section 982(b) (1), and
Title 18, United States Code, Section 982(b) (2), the defendant, if so
convicted, shall forfeit substitute property, if, by any act or
omission of the defendant, the property described in the preceding
paragraph, or any portion thereof: (a) cannot be located upon the
exercise of due diligence; (b) has been transferred, sold to, or
deposited with a third party; (c) has been placed beyond the
jurisdiction of the court; (d) has been substantially diminished in
value; or (e) has been commingled with other property that cannot be

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divided without difficulty. Substitution of assets shall not be
ordered, however, where che convicted defendant acted merely as an
intermediary who handled but did not retain the property in the
course of the money laundering offense unless the defendant, in
committing the offense or offenses giving rise to the forfeiture,
conducted three or more separate transactions involving a total of

$100,000.00 or more in any twelve-month period.

A TRUE BILL

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Jf “/
Foreperson

TRACY L. WILKISON

Attorney for the United States,

Acting Under Authority Conferred
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RR

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